
PER CURIAM.
Affirmed. See Ch. 95-347, § 1, at 3045, Laws of Fla.; Ch. 77-266, § 1, at 1248, Laws of Fla.; McDonald v. State, 133 So.3d 530 (Fla. 2d DCA 2013) ; Hughes v. State, 22 So.3d 132 (Fla. 2d DCA 2009) ; Shortridge v. State, 884 So.2d 321 (Fla. 2d DCA 2004) ; Brown v. State, 827 So.2d 1054 (Fla. 2d DCA 2002) ;
*1292Williams v. State, 925 So.2d 427 (Fla. 3d DCA 2006) ; Romano v. State, 718 So.2d 283 (Fla. 4th DCA 1998).
SILBERMAN, MORRIS, and SALARIO, JJ., Concur.
